                Case 2:17-cv-01611-RSL Document 69 Filed 01/29/21 Page 1 of 3



 1                                                                    The Honorable Robert S. Lasnik
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 8                              UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
      ANDREA SCHMITT and ELIZABETH                     )
10    MOHONDRO, each on their own behalf, and ) CASE NO. 2:17-cv-01611 RSL
      on behalf of all similarly situated individuals, )
11                                                     )
                      Plaintiffs,                      ) SECOND UNOPPOSED MOTION AND
12
                                                       ) ORDER TO EXTEND TIME TO RESPOND
             v.                                          TO FOURTH AMENDED COMPLAINT
13                                                     )
      KAISER FOUNDATION HEALTH PLAN )
14    OF WASHINGTON; KAISER                            )
      FOUNDATION HEALTH PLAN OF                        )
15    WASHINGTON OPTIONS, INC.; KAISER )
      FOUNDATION HEALTH PLAN OF THE )
16    NORTHWEST; and KAISER                            )
      FOUNDATION HEALTH PLAN, INC.,                    )
17                                                     )
                      Defendants.                      )
18                                                     )
19
                                        UNOPPOSED MOTION
20
             Defendants Kaiser Foundation Health Plan of Washington, Kaiser Foundation Health Plan
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     of Washington Options, Inc., Kaiser Foundation Health Plan of the Northwest, and Kaiser
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23   Foundation Health Plan, Inc., (“Defendants”), through their counsel, respectfully request the time

24   for response to Plaintiffs’ Fourth Amended Complaint be extended to March 15, 2021. Defendants

25   have previously sought an extension to respond to Plaintiffs’ Fourth Amended Complaint, which
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     was granted by this Court on December 28, 2020 (Dkt. 67). This motion is for good cause as the
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                                                                                KARR TUTTLE CAMPBELL
     SECOND UNOPPOSED MOTION AND ORDER TO EXTEND TIME TO                       701 Fifth Avenue, Suite 3300
     RESPOND TO FOURTH AMENDED COMPLAINT - 1                                    Seattle, Washington 98104
     CASE NO. 2:17-cv-01611 RSL                                                        Main: (206) 223 1313
                                                                                        Fax: (206) 682 7100
     #1365923 v1 / 22408-614
                Case 2:17-cv-01611-RSL Document 69 Filed 01/29/21 Page 2 of 3



 1   parties explore potential resolution and not for the purpose of delay. Plaintiffs’ counsel has been
 2   advised and does not oppose the instant motion.
 3
             Accordingly, Defendants respectfully request the deadline for response to Plaintiff’s
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     Amended Complaint be extended to March 15, 2021. By submitting this motion Defendant does
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     not waive any defenses, including without limitation, the defense to lack of personal jurisdiction.
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             Dated this 28th day of January, 2021.
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                                                       KARR TUTTLE CAMPBELL
 9
                                                       s/Medora A. Marisseau
10                                                     Medora A. Marisseau, WSBA #23114
11                                                     Mark A. Bailey, WSBA #26337
                                                       701 Fifth Avenue, Suite 3300
12                                                     Seattle, WA 98104
                                                       Telephone: 206-223-1313
13                                                     Facsimile: 206-682-7100
                                                       mbailey@karrtuttle.com
14                                                     mmarisseau@karrtuttle.com
15                                                     Attorneys for the Defendants

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                                                                                 KARR TUTTLE CAMPBELL
     SECOND UNOPPOSED MOTION AND ORDER TO EXTEND TIME TO                         701 Fifth Avenue, Suite 3300
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                                                                                          Fax: (206) 682 7100
     #1365923 v1 / 22408-614
                Case 2:17-cv-01611-RSL Document 69 Filed 01/29/21 Page 3 of 3



 1                                               ORDER
 2           IT IS SO ORDERED. Defendants’ Response to the Fourth Amended Complaint shall be

 3   filed by March 15. 2021.

 4           ORDERED this 29th day of January, 2021.
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                                              Robert S. Lasnik
 7                                            United States District Judge
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                                                                         KARR TUTTLE CAMPBELL
     SECOND UNOPPOSED MOTION AND ORDER TO EXTEND TIME TO                 701 Fifth Avenue, Suite 3300
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     CASE NO. 2:17-cv-01611 RSL                                                  Main: (206) 223 1313
                                                                                  Fax: (206) 682 7100
     #1365923 v1 / 22408-614
